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 1                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
 2                                 SAN FRANCISCO DIVISION
 3

 4   UNITED STATES OF AMERICA,                              Case No. 14-CR-00175-WHA

 5                                 Plaintiff,               [PROPOSED] ORDER
                                                            EXTENDING DEADLINE FOR
 6                                                          RESPONDING TO ORDER
           v.                                               ENTITLED “QUESTION RE
 7
                                                            PROBATION CONDITIONS”
     PACIFIC GAS AND ELECTRIC COMPANY,
 8

 9                                 Defendant.

10

11         This matter coming before the Court at the request of Pacific Gas and Electric Company
12   (“PG&E”), the following is ORDERED:
13
                •   The deadline for responding to this Court’s order entitled “Question re Probation
14
                    Conditions” (Doc. 1129) is extended from January 10, 2020 at noon to January
15
                    15, 2020 at noon.
16
           IT IS SO ORDERED.
17

18                     24 2019
      Dated: December _____,
19

20

21                                                           WILLIAM ALSUP
                                                             UNITED STATES DISTRICT JUDGE
22

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                                               5
     PG&E’S UNOPPOSED MOTION FOR EXTENSION OF TIME TO RESPOND TO ORDER RE QUESTION RE
                                  PROBATION CONDITIONS
                                  Case No. 14-CR-00175-WHA
